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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

INVENSAS CORPORATION,

      Plaintiff,

      v.                                                                 No. 2:17-CV-00670-RWS-RSP

SAMSUNG ELECTRONICS CO., LTD. and
SAMSUNG ELECTRONICS AMERICA,
INC.,

      Defendants.

                                  DOCKET CONTROL ORDER

           The Court ORDERS that the following schedule of deadlines is in effect until further

 order of this Court:

           Date              New Date                Event

  February 19, 2019                                  *Jury Selection – 9:00 a.m. in Marshall,
                                                     Texas before Judge Robert Schroeder

  January 28, 2019                                   *Pretrial Conference – 9:00 a.m. in Marshall,
                                                     Texas before Judge Roy Payne

  January 17, 2019                                   *Notify Court of Agreements Reached
                                                     During Meet and Confer

                                                     The parties are ordered to meet and confer on
                                                     any outstanding objections or motions in
                                                     limine. The parties shall advise the Court of
                                                     any agreements reached no later than 1:00
                                                     p.m. three (3) business days before the pretrial
                                                     conference.

  January 15, 2019                                   *File Joint Pretrial Order, Joint Proposed Jury
                                                     Instructions, Joint Proposed Verdict Form,
                                                     Responses to Motions in Limine, Updated
                                                     Exhibit Lists, Updated Witness Lists, and
                                                     Updated Deposition Designations
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  January 8, 2019                        *File Notice of Request for Daily Transcript
                                         or Real Time Reporting.

                                         If a daily transcript or real time reporting of
                                         court proceedings is requested for trial, the
                                         party or parties making said request shall file
                                         a notice with the Court and e-mail the Court
                                         Reporter,        Shelly        Holmes,       at
                                         shelly_holmes@txed.uscourts.gov.

  January 4, 2019                        File Motions in Limine

                                         The parties shall limit their motions in limine
                                         to issues that if improperly introduced at trial
                                         would be so prejudicial that the Court could
                                         not alleviate the prejudice by giving
                                         appropriate instructions to the jury.

  January 4, 2019                        Serve Objections      to    Rebuttal   Pretrial
                                         Disclosures

  December 18, 2018                      Serve Objections to Pretrial Disclosures; and
                                         Serve Rebuttal Pretrial Disclosures

  December 11, 2018                      Serve Pretrial Disclosures (Witness List,
                                         Deposition Designations, and Exhibit List) by
                                         the Party with the Burden of Proof

  November 13, 2018                      *File Motions to Strike Expert Testimony
                                         (including       Daubert        Motions)

                                         No motion to strike expert testimony
                                         (including a Daubert motion) may be filed
                                         after this date without leave of the Court.

  November 13, 2018                      *File Dispositive Motions

                                         No dispositive motion may be filed after this
                                         date without leave of the Court.

                                         Motions shall comply with Local Rule CV-56
                                         and Local Rule CV-7. Motions to extend page
                                         limits will only be granted in exceptional
                                         circumstances.   Exceptional circumstances
                                         require more than agreement among the
                                         parties.



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                       November 6, 2018      Deadline to Complete Expert Discovery

  October 12, 2018                           Serve Disclosures     for   Rebuttal   Expert
                                             Witnesses

  September 18, 2018                         Deadline to Complete Fact Discovery and
                                             File Motions to Compel Discovery

  September 18, 2018                         Serve Disclosures for Expert Witnesses by
                                             the Party with the Burden of Proof

  September 6, 2018                          Deadline to Complete Mediation

                                             The parties are responsible for ensuring that a
                                             mediation report is filed no later than 5 days
                                             after the conclusion of mediation.

  August 30, 2018                            Comply with P.R. 3-7 (Opinion of Counsel
                                             Defenses)

  August 9, 2018                             *Claim Construction Hearing – 9:00 a.m. in
                                             Marshall, Texas before Judge Roy Payne

  July 26, 2018                              *Comply with P.R. 4-5(d) (Joint Claim
                                             Construction Chart)

  July 19, 2018                              *Comply with P.R. 4-5(c) (Reply Claim
                                             Construction Brief)

  July 12, 2018                              Comply with P.R. 4-5(b) (Responsive Claim
                                             Construction Brief)

  June 28, 2018                              Comply with P.R. 4-5(a) (Opening Claim
                                             Construction Brief) and Submit Technical
                                             Tutorials (if any)

                                             Good cause must be shown to submit technical
                                             tutorials after the deadline to comply with
                                             P.R. 4-5(a).




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  June 28, 2018                          Deadline    to Substantially        Complete
                                         Document Production and             Exchange
                                         Privilege Logs

                                         Counsel are expected to make good faith
                                         efforts to produce all required documents as
                                         soon as they are available and not wait until
                                         the substantial completion deadline.

  June 15, 2018                          Comply with P.R. 4-4 (Deadline to Complete
                                         Claim Construction Discovery)

  June 7, 2018                           File Response to Amended Pleadings

  May 24, 2018                           *File Amended Pleadings

                                         It is not necessary to seek leave of Court to
                                         amend pleadings prior to this deadline unless
                                         the amendment seeks to assert additional
                                         patents.

  June 6, 2018                           Comply with P.R. 4-3           (Joint   Claim
                                         Construction Statement)

  May 21, 2018                           Comply with P.R. 4-2 (Exchange Preliminary
                                         Claim Constructions)

  May 7, 2018                            Comply with P.R. 4-1 (Exchange Proposed
                                         Claim Terms)

  April 27, 2018                         Comply with P.R. 3-3 & 3-4 (Invalidity
                                         Contentions)

  February 1, 2018                       *File Proposed Protective Order and Comply
                                         with Paragraphs 1 & 3 of the Discovery Order
                                         (Initial and Additional Disclosures)

                                         The Proposed Protective Order shall be filed
                                         as a separate motion with the caption
                                         indicating whether or not the proposed order is
                                         opposed in any part.




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  January 25, 2018                                  *File Proposed Docket Control Order and
                                                    Proposed Discovery Order

                                                    The Proposed Docket Control Order and
                                                    Proposed Discovery Order shall be filed as
                                                    separate motions with the caption indicating
                                                    whether or not the proposed order is opposed
                                                    in any part.

  January 18, 2018                                  Join Additional Parties

  January 29, 2018                                  Comply with P.R. 3-1 & 3-2 (Infringement
                                                    Contentions)
 (*) indicates a deadline that cannot be changed without showing good cause. Good cause is not
 shown merely by indicating that the parties agree that the deadline should be changed.



                               ADDITIONAL REQUIREMENTS

         Summary Judgment Motions, Motions to Strike Expert Testimony, and
 Daubert Motions: For each motion, the moving party shall provide the Court with two (2)
 copies of the completed briefing (opening motion, response, reply, and if applicable,
 surreply), excluding exhibits, in D-three-ring binders, appropriately tabbed. All documents
 shall be single-sided and must include the CM/ECF header. For expert-related motions,
 complete digital copies of the relevant expert report(s) and accompanying exhibits shall
 submitted on a single flash drive. These copies shall be delivered as soon as briefing has
 completed.
         Indefiniteness: In lieu of early motions for summary judgment, the parties are directed to
 include any arguments related to the issue of indefiniteness in their Markman briefing, subject to
 the local rules’ normal page limits.

        Motions for Continuance: The following excuses will not warrant a continuance
 nor justify a failure to comply with the discovery deadline:

 (a)    The fact that there are motions for summary judgment or motions to dismiss pending;

 (b)    The fact that one or more of the attorneys is set for trial in another court on the same day,
        unless the other setting was made prior to the date of this order or was made as a special
        provision for the parties in the other case;

 (c)    The failure to complete discovery prior to trial, unless the parties can demonstrate that it
        was impossible to complete discovery despite their good faith effort to do so.




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         Amendments to the Docket Control Order (“DCO”): Any motion to alter any date
 on the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO
 shall include a proposed order that lists all of the remaining dates in one column (as above)
 and the proposed changes to each date in an additional adjacent column (if there is no change for
 a date the proposed date column should remain blank or indicate that it is unchanged). In other
 words, the DCO in the proposed order should be complete such that one can clearly see all
 the remaining deadlines and the changes, if any, to those deadlines, rather than needing to also
 refer to an earlier version of the DCO.

        Proposed DCO: The Parties’ Proposed DCO should also follow the format
 described above under “Amendments to the Docket Control Order (‘DCO’).”
         SIGNED this 3rd day of January, 2012.
        SIGNED this 30th day of January, 2018.




                                                     ____________________________________
                                                     ROY S. PAYNE
                                                     UNITED STATES MAGISTRATE JUDGE




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